         Case 1:19-cr-00093-EGS Document 48-4 Filed 07/03/20 Page 1 of 4




                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA                             :
                                                     :
       v.                                            :       Criminal No. 19-cr-00093 (EGS)
                                                     :       Criminal No. 18-cr-00344 (EGS)
                                                     :
JOHN VICTOR REED,                                    :
JAROME SIMMONS, a.k.a. Bernard Byrd                  :
     Defendants                                      :



                      DECLARATION OF CHIEF PETER NEWSHAM

 Peter Newsham, being duly sworn, states the following:

I.     Declarant’s Background

       1.      I currently serve as the Chief of Police for the Metropolitan Police Department in

Washington, D.C. The Metropolitan Police Department is the primary law enforcement agency

for the District of Columbia and is comprised of approximately 3,775 sworn employees and 700

non-sworn (civilian) employees.

       2.      I have served as a member of the Metropolitan Police Department for more than

thirty (30) years since joining the department in December 1989. I was sworn in as the Interim

Chief of Police on September 15, 2016, and following confirmation by the Council of the District

of Columbia, I was sworn in as the Chief of Police on May 2, 2017. Prior to being named the Chief

of Police, I served as the Assistant Chief of Police for the Investigative Services Bureau for more

than six (6) years.

II.    Background on Initiative

       3.      In 2018 there were more than 300 individuals with a prior felony conviction who

were caught and arrested for illegally carrying a firearm in the District of Columbia.

                                                 1
         Case 1:19-cr-00093-EGS Document 48-4 Filed 07/03/20 Page 2 of 4




       4.      Additionally, when looking at the suspects who were arrested for and charged with

a homicide in 2018, twenty-six (26) percent had a prior felony conviction.

       5.      A convicted felon who is prohibited from possessing a firearm by federal and

District law, yet chooses to illegally possess a firearm shows a clear disregard for the law and

poses a higher risk for District residents.

       6.      According to the United States Sentencing Commission’s Recidivism Among

Federal Firearms Offenders: “Firearms offenders generally recidivated at a higher rate,

recidivated more quickly following release into the community, and continued to recidivate later

in life than non-firearms offenders.” They also find that “a greater percentage of firearms offenders

were rearrested for serious crimes than non-firearms offenders.”

       7.      One of my consistent priorities has long been protecting the community from

illegally-possessed firearms and repeat violent offenders.

       8.      Our criminal justice partners have agreed that to reduce gun violence, we must deal

more effectively with the people most likely to commit crimes with guns.

       9.      Throughout my time serving as Chief of Police, I have continually asked our

criminal justice partners for their support and expertise in helping to reduce and prevent gun

violence in the District of Columbia.

       10.     That includes better leveraging the resources of our federal partners as a sensible

and prudent approach to helping us focus on those most likely to commit the next shooting or

homicide.

       11.     Reducing gun violence is a challenging and complex effort that requires a multi-

faceted, multi-agency, and multi-jurisdictional response.




                                                 2
         Case 1:19-cr-00093-EGS Document 48-4 Filed 07/03/20 Page 3 of 4




       12.     In furtherance of those efforts, I had conversations with the United States Attorney

for the District of Columbia in late 2018 and early 2019 to discuss potential new strategies and

approaches for combating gun-related crimes in the District of Columbia.

       13.     As a result of those discussions and as a part of our comprehensive violent crime

prevention efforts, the United States Attorney’s Office for the District of Columbia (USAO-DC)

and federal law enforcement agencies, in collaboration with the Metropolitan Police Department,

initiated and announced the Felon in Possession (FIP) Initiative in February 2019.

       14.     The goal of the FIP Initiative is to increase accountability for repeat offenders,

reduce and prevent gun-related crime, and leverage federal resources, such as the Federal Bureau

of Investigation, Drug Enforcement Agency, Bureau of Alcohol, Tobacco, Firearms and

Explosives, and U.S. Marshals, to support MPD and the Department of Forensic Sciences with

complex criminal investigations.

       15.     The District of Columbia does not have a manufacturer or commercial seller of

firearms located within its boundaries. Identifying, tracing, and addressing the source of illegal

firearms recovered in the District is a critical aspect of combating gun-related crime, and our

federal partners are best positioned to support those investigative efforts.

       16.     The FIP Initiative is part of a comprehensive public safety strategy to take

dangerous, illegally-possessed firearms off the streets and out of our neighborhoods, hold repeat

violent offenders accountable, and prevent the next shooting or homicide.

       17.     Like any crime prevention strategy or intervention, conducting an evaluation is

helpful to understand the effectiveness of the program. While it is too early to understand the

impact of the FIP initiative, I look forward to reviewing the evaluation facilitated by the USAO-

DC.



                                                  3
        Case 1:19-cr-00093-EGS Document 48-4 Filed 07/03/20 Page 4 of 4




       18.     I am thankful to the USAO-DC and our federal partners for supporting the

Metropolitan Police Department’s efforts to reduce violent crime and build safer, stronger

neighborhoods throughout the District of Columbia.



       I declare under penalty of perjury this 1st day of July 2020, that the foregoing information

is true and correct to the best of my information and belief.


                                              ________________________________
                                              Peter Newsham




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